United States District Court
Eastern District of New York

JONATAN BARAHONA and HECTOR HERNANDEZ, |

CERTIFICATE OF SERVICE
Plaintiff(s), | BY E-MAIL

i
i
i

Case No. 21-cv-05400
(GRB)(AYS)

-against-

PARADISE TREE SERVIC

E & LANDSCAPE, CORP.
and WILLIAM NIETO,

Defendant(s).

Shirley Navarro-Losito declares under penalty of perjury, pursuant to 28 U.S.C. § 1746,

that the following is true and correct.

1. Tam over 18 years of age and am not a party to this litigation.

2. Taman employee of the Moser Law F im, P.C,

3, On 6/18/2024 I served the Docket Order filed on 6/14/2024 Via e-mail to the

following address:

William Nieto, email: Nietow@live.com

I certify that the foregoing is true and correct.

Dated: Huntington, New York
June 18, 2024

